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EXHIBIT D
Case: 5:22-cv-01454-CEH Doc #: 1-7 Filed: 08/15/22 2 of 2. PagelD #: 29

W242021 Galt - Order £1174 confined
Ps Gmail Karl Forsell <florce@gmail.com>
Order #1174 confirmed
i message
FPGA Land <sales@fpga.land> 8 June 2048 at 14:00

To: fret@ftm|.net

FPGA Land ORDER #1174

Thank you fer your purchase!

HI Carl, we're getiing your order ready to be shipped. We will notify you when it
has been sent.

or Visit our store

Order summary

VCU1525 - Blockchain Edition (With Mods) x 4

1oou $14,400.00

Subtotal $14,400.00
Shipping $130.64
Total $14,530.64 USD

Customer information

Shipping address Billing actress

Carl Forseit Carl Forsell

8 St Martin's Dr 8 St Martin's Dr

#03-21 St Martin Residence #03-21 St Martin Residence

Singapore 258005 Singapore 258005

Singapore Singapore

Shipping method Payment method

Worldwide Manual — $14,530.64

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